                                            Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 1 of 14




                                   1
                                   2
                                   3
                                   4
                                   5
                                   6
                                   7                                UNITED STATES DISTRICT COURT
                                   8                            NORTHERN DISTRICT OF CALIFORNIA
                                   9
                                        NATIONAL MEDICAL SERVICES,
                                  10    INC.,                                          Case No. 16-cv-04425 NC
                                  11                   Plaintiff,                      REPORT AND
                                                                                       RECOMMENDATION TO GRANT
                                                 v.
Northern District of California




                                  12                                                   DEFAULT JUDGMENT, AND
 United States District Court




                                                                                       REQUEST FOR REASSIGNMENT
                                  13    INDX LIFECARE, INC.,
                                                                                       Re: Dkt. No. 15
                                  14                   Defendant.
                                  15
                                  16            Plaintiff National Medical Services, Inc. (NMS) moves for default judgment against
                                  17   defendant iNDx Lifecare, Inc. (iNDx) to recover amounts due on unpaid loans. Dkt. No.
                                  18   1. NMS alleges three breach of contract claims and one claim of common count under
                                  19   California law. Id. Based on iNDx’s failure to defend itself from this motion, the Court
                                  20   finds that a default judgment against iNDx is proper for all claims.
                                  21            The Court RECOMMENDS that NMS is entitled to $444,885.77 in damages,
                                  22   attorneys’ fees, and costs. The Court ORDERS this case to be reassigned to a district court
                                  23   judge.
                                  24   I.    BACKGROUND
                                  25            NMS and iNDx entered into a Product Development Agreement (PDA) to jointly
                                  26   develop small molecule testing and assay products on August 1, 2014. Dkt. No. 1 at 2.
                                  27   NMS’s contractual duties included providing iNDx with financing. Id. at 1; Dkt. No. 1-1
                                  28   at 9. As detailed in the PDA, iNDx’s contractual duties included (1) developing specific
                                       Case No. 16-cv-04425 NC
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 2 of 14




                                   1   prototype devices according to a stipulated schedule and (2) complying with reporting
                                   2   provisions. Dkt. No. 1 at 2-3. NMS fulfilled its duties under the PDA. Id. at 3.
                                   3          On October 2, 2014, the parties entered into an addendum to the PDA (Addendum)
                                   4   to jointly develop a new device and provide iNDx with additional financing. Id. at 3, 7.
                                   5   NMS fulfilled its duties under the Addendum. Id. at 3.
                                   6          On December 10, 2015, NMS loaned iNDx $150,000 through an unsecured
                                   7   promissory note (Note) with an annual interest rate of 5% on the outstanding principal
                                   8   balance. Id. at 3; Dkt. No. 15-1 at 2. There are a number of ways iNDx could default on
                                   9   the Note (Event of Default), including by breaching the terms of the PDA or Addendum.
                                  10   Dkt. No. 1-3 at 3. Repayment of the outstanding principal and accrued interest becomes
                                  11   due within 10 days of written notice of an Event of Default. Id. The outstanding principal
                                       and interest becomes immediately due upon initiation of bankruptcy proceedings. Id.
Northern District of California




                                  12
 United States District Court




                                  13          In January and February of 2016, NMS made Additional Loans to iNDx totaling
                                  14   $250,000 on the same terms as the Note. Dkt. No. 15-1 at 2. NMS disbursed the loan
                                  15   through wire transfers of $150,000 on January 22, 2016, and $100,000 on February 25,
                                  16   2016. Id.
                                  17          NMS alleges that iNDx failed to perform many of its material obligations under the
                                  18   PDA and Addendum. Id. at 6-7. NMS notified iNDx of its failure to perform and of the
                                  19   ensuing Event of Default. Id. NMS alleges it incurred costs as a result of iNDx’s breach,
                                  20   including an additional $79,000 loan to iNDx. Dkt. No. 7. iNDx has not repaid the Note,
                                  21   the Additional Loans, or the $79,000 loan after iNDx’s breach of the PDA and
                                  22   Addendum. 1 Id. at 3.
                                  23          NMS filed this case on August 5, 2016, and served iNDx on August 7, 2016. Dkt.
                                  24   Nos. 1, 7. NMS alleges three claims for relief for breach of contract under the PDA and
                                  25   Addendum, the Note, and the Additional Loans. Dkt. No. 1 at 4-7. NMS alleges a
                                  26
                                  27   1
                                        NMS is not seeking remedies based on the initial $1,000,000 financing to iNDx under the
                                  28   PDA or the $500,000 additional financing through the Addendum in this claim for relief.
                                       Dkt. No. 1 at 3, 8.
                                       Case No. 16-cv-04425 NC                2
                                             Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 3 of 14




                                   1   common count claim for the Additional Loans. Id. at 7.
                                   2            On August 19, 2016, iNDx filed a Notice of Bankruptcy and a Request for
                                   3   Automatic Stay, which was granted on August 29, 2016. Dkt. Nos. 9, 10. On December
                                   4   16, 2016, the bankruptcy court granted iNDx’s motion to voluntarily dismiss its Chapter
                                   5   11 case. Dkt. No. 11-1. NMS then filed a Notice of Termination of Automatic Stay on
                                   6   December 29, 2016. Dkt. No. 11.
                                   7            On February 1, 2017, NMS notified iNDx’s bankruptcy counsel that NMS would
                                   8   move for default judgment unless an answer was filed. Dkt. No. 15-2 at 2. iNDx failed to
                                   9   answer NMS’s complaint. Dkt. No. 15 at 2. NMS filed a request for an entry of default,
                                  10   which was granted by the Clerk of Court on February 15, 2017. Id., Dkt. No. 13. On
                                  11   March 15, 2017, NMS moved for default judgment. Dkt. No. 15 at 2.
                                                NMS consented to the jurisdiction of a magistrate judge under 28 U.S.C. § 636(c);
Northern District of California




                                  12
 United States District Court




                                  13   however, iNDx has not participated in this litigation. Dkt. No. 8. Thus, not all parties
                                  14   have consented to the jurisdiction of a magistrate judge.
                                  15   II.    LEGAL STANDARD
                                  16            Default may be entered against a party who fails to plead or otherwise defend an
                                  17   action and against whom a judgment for affirmative relief is sought. Fed. R. Civ. P. 55(a).
                                  18   After entry of default, the Court has discretion to grant default judgment on the merits of
                                  19   the case. Fed. R. Civ. P. 55(b); Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980). In
                                  20   deciding whether to grant default judgment, the Court considers the following factors:
                                  21   (1) the possibility of prejudice to the plaintiff; (2) the merits of the plaintiff’s substantive
                                  22   claim; (3) the sufficiency of the complaint; (4) the sum of money at stake in the action; (5)
                                  23   the possibility of a dispute concerning material facts; (6) whether the default was due to
                                  24   excusable neglect; and (7) the strong policy favoring decisions on the merits. Eitel v.
                                  25   McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). The factual allegations of the complaint,
                                  26   except those concerning damages, are deemed admitted by the non-responding parties.
                                  27   Shanghai Automation Instrument Co. v. Kuei, 194 F. Supp. 2d 995, 1000 (N.D. Cal. 2001);
                                  28   see also Geddes v. United Fin. Grp., 559 F.2d 557, 560 (9th Cir. 1977) (“[t]he general rule
                                       Case No. 16-cv-04425 NC                    3
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 4 of 14




                                   1   of law is that upon default the factual allegations of the complaint, except those relating to
                                   2   the amount of damages, will be taken as true”).
                                   3   III. DISCUSSION
                                   4          A. Jurisdiction

                                   5          In considering whether to enter a default judgment, courts have “an affirmative duty

                                   6   to look into its jurisdiction over both the subject matter and the parties.” In re Tuli, 172

                                   7   F.3d 707, 712 (9th Cir. 1999).

                                   8                 1. Personal Jurisdiction

                                   9          “[A] State may authorize its courts to exercise personal jurisdiction over an out-of-

                                  10   state defendant if the defendant has ‘certain minimum contacts with [the State] such that

                                  11   the maintenance of the suit does not offend traditional notions of fair play and substantial
                                       justice.’” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 923 (2011)
Northern District of California




                                  12
 United States District Court




                                  13   (alteration in original) (quoting International Shoe Co. v. Washington, 326 U.S. 310, 316

                                  14   (1945)).

                                  15          Here, the PDA and Addendum stipulate that any action for dispute under the

                                  16   agreements must be brought in Santa Clara County state or federal court, and that each

                                  17   party “irrevocably submits to the exclusive jurisdiction” of that court. Dkt. Nos. 1-1 at 21

                                  18   (PDA), 1-2 at 7 (Addendum). iNDx is located in California and maintains an office,

                                  19   conducts business, and has agents or employees in Santa Clara County. Dkt. No. 1 at 2.

                                  20   Further, the PDA and Addendum both stipulate that the agreements are subject to

                                  21   California law and any disputes may be brought in Santa Clara county. Dkt. Nos. 1-1 at 21

                                  22   (PDA), 1-2 at 7 (Addendum). Finally, the underlying events that gave rise to the claim

                                  23   arose in Santa Clara County. Therefore, the Court may exercise personal jurisdiction over

                                  24   iNDx. 2

                                  25                 2. Subject Matter Jurisdiction

                                  26          Federal courts have subject matter jurisdiction over actions between citizens of

                                  27
                                  28   2
                                        For these same reasons, venue is proper in this Court.
                                       Case No. 16-cv-04425 NC                4
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 5 of 14




                                   1   different states where the amount in controversy exceeds $75,000. 28 U.S.C. § 1332(a)(1).
                                   2          iNDx is a Delaware Corporation with its principal place of business in California. 3
                                   3   Dkt. No. 23 at 3. NMS is a Pennsylvania Corporation with its principal place of business
                                   4   in Pennsylvania. Id. at 1. Thus, NMS is diverse from iNDx. 28 U.S.C. § 1332(a)(1).
                                   5          NMS claims damages of $400,000 plus accrued interest, $16,797 in attorneys’ fees,
                                   6   and $1,306 in costs. Dkt. Nos. 1 at 8, 21 at 2 (Second Sullivan Decl.). This claim meets
                                   7   the amount in controversy requirement and the Court has subject matter jurisdiction. 28
                                   8   U.S.C. § 1132(a).
                                   9          B. Service
                                  10          iNDx was properly served with the complaint on August 8, 2016. Dkt. No. 7.
                                  11   iNDx is neither a minor nor an incompetent person. Dkt. No. 15-1 at 2. NMS also
                                       emailed iNDx’s bankruptcy attorney advance notice of NMS’s intent to move for default
Northern District of California




                                  12
 United States District Court




                                  13   judgment on February 1, 2017. Dkt. No. 18 at 2-3.
                                  14          iNDx was served NMS’s request for default on February 10, 2017, and with NMS’s
                                  15   motion for default judgment on March 14, 2017. Dkt. Nos. 7, 15-3. Thus, the Court is
                                  16   satisfied that service was completed.
                                  17          C. Default Judgment
                                  18                 1. Merits and Sufficiency of the Complaint
                                  19          The second and third Eitel factors examine the substantive merits and the
                                  20   sufficiency of the complaint. 782 F.2d at 1471-72. Once a defendant enters default, all of
                                  21   the plaintiff’s well-pleaded, factual claims are deemed admitted, except with respect to the
                                  22   amount of damages. Shanghai Automation, 194 F. Supp. 2d at 1000. Conclusions of law
                                  23   or claims that are legally insufficient are not deemed admitted. Cripps v. Life Ins. Co. of
                                  24
                                  25   3
                                         NMS’s original complaint insufficiently alleged iNDx’s citizenship by omitting the
                                  26   company’s principal place of business. Dkt. No. 1. NMS later submitted a declaration
                                       attesting to iNDx’s citizenship at the time of case filing. Dkt. No. 23. The Court finds that
                                  27   the supplemented record sufficiently amends the complaint. 28 U.S.C. § 1653; see Blue
                                       Ridge Ins. Co. v. Stanewich, 142 F.3d 1145, 1147-48 (9th Cir. 1998) (plaintiff’s
                                  28   submission of sworn affidavits certifying the parties’ citizenship cured deficient
                                       jurisdictional claims without formal amendment to the complaint).
                                       Case No. 16-cv-04425 NC                   5
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 6 of 14




                                   1   N. Am., 980 F.2d 1261, 1267 (9th Cir. 1992). NMS’s motion seeks recovery for three
                                   2   breach of contract claims and one common count claim. The Court will examine each in
                                   3   turn.
                                   4                         a. Breach of Contract (Note)
                                   5           Claim 1 alleges a breach of contract under the Note against iNDx. Dkt. No. 1 at 4.
                                   6   The Note states that it is governed by the laws of the Commonwealth of Pennsylvania.
                                   7   Dkt. No. 1-3 at 5 (Note). Under Pennsylvania law, the elements of a breach of contract
                                   8   claim are: (1) existence of a contract, (2) a breach of a duty imposed by the contract, and
                                   9   (3) resulting damages. Lackner v. Glosser, 892 A.2d 21, 30 (Pa. Super. Ct. 2006).
                                  10           Here, NMS alleges that the Note is a contract between NMS and iNDx. Lackner,
                                  11   892 A.2d at 30; Dkt. No. 1 at 4. Second, NMS alleges that iNDx failed to perform under
                                       the terms of the PDA and Addendum, triggering an Event of Default. Lackner, 892 A.2d
Northern District of California




                                  12
 United States District Court




                                  13   at 30; Dkt. No. 1 at 4. Upon an Event of Default, iNDx has a duty to immediately repay
                                  14   the outstanding principal and accrued interest on the Note. Dkt. No. 1-3 at 3 (Note). iNDx
                                  15   has not paid the principal or accrued interest, thus breaching its duty. Dkt. Nos. 1 at 4,
                                  16   15-1 at 2 (Cassigneul Decl.). Finally, NMS alleges that it has suffered damages in the
                                  17   amount payable under the terms of the Note. Lackner, 892 A.2d at 30; Dkt. No. 1 at 5.
                                  18   Therefore, taking NMS’s complaint as true, the Court finds that NMS sufficiently alleged a
                                  19   claim of breach of contract for iNDx’s failure to pay the outstanding principal and accrued
                                  20   interest of the Note. 4
                                  21                         b. Breach of Contract (Additional Loans)
                                  22           Claim 2 alleges a breach of the contract for the Additional Loans against iNDx.
                                  23   Dkt. No. 1 at 5. NMS alleges that it loaned $250,000 to iNDx on the same terms as the
                                  24   Note. Id. Accordingly, the sufficiency and merits of NMS’s breach of contract claim
                                  25
                                  26   4
                                        A California breach of contract claim must further allege that the plaintiff performed
                                  27   under the contract or had an excuse for non-performance. See Amelco Elec. v. City of
                                       Thousand Oaks, 27 Cal. 4th 228, 243 (2002). NMS alleges it disbursed the loan to iNDx
                                  28   and fully performed under the terms of the Promissory Note. Thus, NMS states a breach
                                       of contract claim for relief under California law as well.
                                       Case No. 16-cv-04425 NC                   6
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 7 of 14




                                   1   should be analyzed under Pennsylvania law, which requires: (1) existence of a contract, (2)
                                   2   a breach of a duty imposed by the contract, and (3) resulting damages. Lackner, 834 A.2d
                                   3   at 30.
                                   4            First, NMS adequately pleads the existence of a contract. Id. In Pennsylvania, a
                                   5   contract is formed when parties (1) reach a mutual understanding, (2) exchange
                                   6   consideration, and (3) clearly define the terms of their bargain. Weavertown Transp.
                                   7   Leasing, Inc. v. Moran, 834 A.2d 1169, 1172 (Pa. Super. 2003). NMS alleges that for
                                   8   consideration of its $250,000 loan, iNDx “was to repay [the Additional Loans] on the same
                                   9   terms as the Note.” Dkt. No. 15-1 at 2 (Cassigneul Decl.). Thus, accepting NMS’s
                                  10   allegations as true (1) iNDx agreed to (2) accept NMS’s loan in exchange for repayment
                                  11   (3) at the terms delineated in the Note. Weavertown, 834 A.2d at 1172; Dkt. No. 15-1 at 2
                                       (Cassigneul Decl.). This demonstrates the existence of a contract. 5
Northern District of California




                                  12
 United States District Court




                                  13            Second, NMS alleges iNDx had a duty to repay loan principal and interest upon an
                                  14   Event of Default. Lackner, 892 A.2d at 30; Dkt. No. 1 at 5. iNDx allegedly has not repaid
                                  15   any of the outstanding balance, thereby breaching its duty. Dkt. No. 1 at 5.
                                  16            Finally, NMS alleges it incurred damages from iNDx’s failure to perform and non-
                                  17   repayment of the loan principal and interest. Lackner, 892 A.2d at 30; Dkt. No. 1 at 5.
                                  18   Thus, the Court finds that NMS sufficiently alleged its breach of contract claim for iNDx’s
                                  19   failure to repay the Additional Loans. 6
                                  20            NMS has not alleged the existence of a written document. In considering the merits
                                  21   of NMS’s claims, courts look to the validity of the statute of frauds as an affirmative
                                  22   defense to enforcement of the contract. Martino v. Chapman, No. 06-cv-02407 PCT, 2008
                                  23   WL 110948, at *2 (D. Ariz. Jan. 8, 2008), aff’d, 370 F. App’x 828 (9th Cir. 2010). The
                                  24
                                       5
                                  25     “California law requires four elements to form a valid contract: (1) parties capable of
                                       contracting; (2) their mutual consent; (3) a lawful object; and (4) sufficient consideration.”
                                  26   Regents of Univ. of California v. Principal Fin. Grp., 412 F. Supp. 2d 1037, 1042 (N.D.
                                       Cal. 2006); Cal. Civ. Code § 1550. NMS has adequately pleaded the existence of a
                                  27   contract under California law as well.
                                       6
                                         NMS alleged it fully complied with the terms of the Additional Loans, successfully
                                  28   stating a breach of contract claim under California law as well. Amelco Elec., 27 Cal. 4th
                                       at 243.
                                       Case No. 16-cv-04425 NC                   7
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 8 of 14




                                   1   Court applies the Pennsylvania statute of frauds as the terms stipulate that the contract is
                                   2   governed by Pennsylvania law and NMS did not specify where the contract was created.
                                   3   This contract is not subject to the statute of frauds under Pennsylvania law. See 33 Pa.
                                   4   Stat. Ann. § 1-5 (the statute of frauds applies to leases or interests in land, declarations or
                                   5   creations of trusts, promises to answer for the debts of another, and acceptances of a bill of
                                   6   exchange). 7
                                   7                         c. Breach of Contract (PDA and Addendum)
                                   8          Claim 3 alleges a breach of contract claim under the PDA and Addendum. Dkt. No.
                                   9   1 at 4. The contracts stipulate they are to be governed by California law. Dkt. Nos. 1-1 at
                                  10   21 (PDA), 1-2 at 7 (Addendum). In California, to state a breach of contract claim, “the
                                  11   plaintiff must demonstrate a contract, the plaintiff’s performance or excuse for
                                       nonperformance, the defendant’s breach, and damage to the plaintiff.” Amelco Elec. v.
Northern District of California




                                  12
 United States District Court




                                  13   City of Thousand Oaks, 27 Cal. 4th 228, 243 (2002).
                                  14          Here, NMS alleges it entered into written contracts with iNDx under the terms of
                                  15   the PDA and Addendum. Amelco, 27 Cal. 4th at 243; Dkt. No. 1 at 5-6. Second, NMS
                                  16   alleges it performed under the terms of both contracts. Amelco, 27 Cal. 4th at 243; Dkt.
                                  17   No. 1 at 6. Third, NMS alleges that iNDx breached its duty to perform many of its
                                  18   obligations under the PDA, including failing to deliver fully functional Initial Devices
                                  19   required by § 3.4.2(ii); spending NMS-provided funds on uses not related to the
                                  20   development of products in violation of the PDA; and allowing its financial condition to
                                  21   deteriorate such that NMS was required to pay iNDx’s obligations to avoid further
                                  22   damaging product development efforts. Amelco, 27 Cal. 4th at 243; Dkt. No. 1 at 6-7.
                                  23   NMS alleges that iNDx failed to perform its obligations under the Addendum by failing to
                                  24   deliver a functional New Device and by failing to comply with the reporting requirements.
                                  25   Amelco, 27 Cal. 4th at 243; Dkt. No. 1 at 7. Finally, NMS alleges it has suffered a loss of
                                  26
                                       7
                                  27     In California, contracts to loan more than $100,000 for business purposes by a lender
                                       engaged in the business of lending must be reduced to writing. Cal. Civ. Code § 1624.
                                  28   However, NMS is not engaged in the business of lending, so the contract is also not subject
                                       to the statute of frauds in California.
                                       Case No. 16-cv-04425 NC                   8
                                          Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 9 of 14




                                   1   $79,000 from an unrepaid loan to iNDx as a result of iNDx’s breach. Amelco, 27 Cal. 4th
                                   2   at 243; Dkt. No. 1 at 7. Thus, taking NMS’s complaint as true, the Court finds NMS
                                   3   successfully alleged claims of breach of contract under the PDA and Addendum.
                                   4                        d. Common Count (Additional Loans)
                                   5          Claim 4 alleges a claim of common count for money had and received against
                                   6   iNDx. Dkt. No. 1 at 7. In California, the elements of a claim of common count are: (1) a
                                   7   statement of indebtedness of a certain sum, (2) consideration, and (3) non-payment of the
                                   8   debt. Farmers Ins. Exchange v. Zerin, 53 Cal. App. 4th 445, 460 (1997).
                                   9          Here, NMS alleges it loaned iNDx a total of $250,000 in January and February
                                  10   2016. Dkt. Nos. 1 at 7, 15-1 at 2 (Cassigneul Decl.). Second, in consideration of its loan,
                                  11   iNDx promised to pay back the principal with interest on the same terms as the Note.
                                       Farmers, 53 Cal. App. 4th at 460; Dkt. Nos. 1 at 7, 15-1 at 2 (Cassigneul Decl.). Finally,
Northern District of California




                                  12
 United States District Court




                                  13   iNDx has not paid back any amount of the loan. Farmers, 53 Cal. App. 4th at 460; Dkt.
                                  14   Nos. 1 at 7, 15-1 at 2 (Cassigneul Decl.). Taking NMS’s allegations as true, NMS has
                                  15   successfully pleaded its claim for common count.
                                  16                 2. Other Factors
                                  17          The Court must also address the possibility of prejudice to the Plaintiff if a default
                                  18   is not entered, the amount of money at stake, the possibility that material facts may be in
                                  19   dispute, the possibility of excusable neglect, and the policy for deciding cases on the
                                  20   merits. Eitel, 782 F.2d at 1471-72.
                                  21          First, if default judgment is not entered, NMS will have no remedy for iNDx’s
                                  22   alleged breaches of contract or the common count claim. This would prejudice NMS, and
                                  23   weighs toward granting a default judgment.
                                  24          Second, “[i]f the sum of money at issue is reasonably proportionate to the harm
                                  25   caused by the defendant’s actions, then default judgment is warranted.” Walters v.
                                  26   Statewide Concrete Barrier, Inc., No. 04-cv-02259 JSW, 2006 WL 2527776, at *4 (N.D.
                                  27   Cal. Aug. 30, 2006). Here, NMS’s first, second, and fourth claims seek relief equaling the
                                  28   outstanding principal of loans iNDx has not repaid plus accrued interest at the agreed-upon
                                       Case No. 16-cv-04425 NC                  9
                                         Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 10 of 14




                                   1   rate. See generally Dkt. No. 1. NMS’s third claim seeks to recover the amount NMS
                                   2   loaned iNDx to mitigate damage from the latter’s breach of the PDA and Addendum. Dkt.
                                   3   No. 1 at 5-7. These damages are consistent with the harm caused by iNDx’s alleged
                                   4   failure to repay the loan amounts. This factor supports granting default judgment.
                                   5          Third, the Court considers the possibility of a dispute of material facts. Eitel, 782
                                   6   F.2d at 1471-2. Here, there is a possibility of a dispute of material facts.
                                   7          Fourth, the Court considers the possibility of the defendant’s excusable neglect. Id.
                                   8   at 1472. iNDx was served notice of the initial complaint on August 8, 2016. Dkt. No. 7.
                                   9   In its Chapter 11 filings, iNDx also listed this case, by number and other identifying
                                  10   information, on its Statement of Financial Affairs. Dkt. No. 18-1 at 10 (Sullivan Amended
                                  11   Decl., Exh. B). Further, NMS’s counsel notified iNDx’s bankruptcy attorney via a phone
                                       call and followed up via email advising of NMS’s intent to file for default. Dkt. No. 15-1
Northern District of California




                                  12
 United States District Court




                                  13   at 2 (Sullivan Decl.). The Court finds that iNDx’s default is unlikely due to excusable
                                  14   neglect.
                                  15          Finally, the Court must resolve cases on the merits whenever reasonably possible.
                                  16   Eitel, 782 F.2d at 1472. However, the Court may enter a default judgment when a
                                  17   defendant fails to defend an action. PepsiCo. Inc. v. Cal. Security Cans, 238 F. Supp. 2d
                                  18   1172, 1177 (C.D. Cal. 2002); Fed. R. Civ. P. 55(b). Here, iNDx has not responded to
                                  19   NMS’s claims. Dkt. No. 18 at 8-9. Thus, the Court is not precluded from entering a
                                  20   default judgment.
                                  21          Considering all the Eitel factors, the Court finds that an entry of default judgment
                                  22   against iNDx would be proper.
                                  23          D. Damages
                                  24          NMS requests damages resulting from the breach of the Note, the PDA and
                                  25   Addendum, and the Additional Loans. “[A]t the default judgment stage, a plaintiff need
                                  26   only provide admissible evidence as to damages, which includes witness testimony.”
                                  27   NewGen, LLC v. Safe Cig, LLC, No. 12-cv-09112 RGK, 2013 WL 12124081, at *5 (C.D.
                                  28   Cal. May 10, 2013), aff’d , 840 F.3d 606 (9th Cir. 2016) (holding that damages from
                                       Case No. 16-cv-04425 NC                   10
                                           Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 11 of 14




                                   1   default judgment on a breach of contract claim supported only by plaintiff’s testimony was
                                   2   not “clearly erroneous”); see Bd. of Trustees of the Boilermaker Vacation Trust v. Skelly,
                                   3   Inc., 389 F. Supp. 2d 1222, 1226 (N.D. Cal. 2005) (“Plaintiff has the burden of proving
                                   4   damages though testimony or written affidavit”).
                                   5          For the first breach of contract claim under the Note, NMS claims it is entitled to
                                   6   $150,000 in outstanding principal plus accrued interest. 8 Dkt. No. 1 at 5. NMS submitted
                                   7   the executed Note contract supporting both principal loan amount and the corresponding
                                   8   rate of interest. Dkt. No. 1-3 at 2 (Note). NMS also submitted a written declaration
                                   9   asserting that iNDx has not paid any amount due under the Note. Dkt. No. 15-1 at 2
                                  10   (Sullivan Decl.). Accordingly, the Court finds that NMS is entitled to damages for breach
                                  11   of the Note amounting to $150,000 in principal and $11,458.33 9 in accrued interest as of
                                       June 12, 2017, for a total of $161,458.33. NewGen, 2013 WL 12124081 at *5.
Northern District of California




                                  12
 United States District Court




                                  13          Second, NMS claims that iNDx owes $250,000 in principal plus accrued interest for
                                  14   the Additional Loans. 10 Dkt. No. 1 at 5. In support of its claim, NMS submitted a written
                                  15   declaration asserting the existence of the loans, the interest rate, and the fact that iNDx has
                                  16   not repaid the loans. Dkt. No. 15-1 at 2 (Sullivan Decl.). Accordingly, the Court finds that
                                  17   NMS is entitled to damages for breach of the Additional Loans amounting to $250,000 in
                                  18   principal and $17,131.94 in accrued interest 11 as of June 12, 2017, for a total of
                                  19   $267,131.94. NewGen, 2013 WL 12124081 at *5.
                                  20          Third, NMS claims it provided an additional loan of $79,000 to iNDx to mitigate
                                  21   the effect of iNDx’s breach of the PDA and Addendum. Dkt. No. 1 at 7. NMS has not
                                  22   offered testimony or documentation to support its assertion of damages for this claim.
                                  23   Thus, NMS has not met its burden to “prove up all damages sought in the complaint.”
                                  24
                                       8
                                  25     Interest accrues at a rate of 5.0% per 360-day year. Dkt. No. 1-3 at 2 (Note). The loan
                                       was
                                       9
                                            disbursed on December 10, 2015. Dkt. No. 1 at 3.
                                  26   10
                                         Note  interest of $11,458.33 = $150,000 * 5% * (550 days / 360 days per year)
                                          The Additional Loans consist of two wire transfers: $150,000 sent on January 22, 2016,
                                  27   and
                                       11
                                            $100,000 sent on February 25, 2016. Dkt. No. 1 at 3.
                                          January Additional Loan interest totals $10,562.50 = $150,000 * 5% * (507 days / 360
                                  28   days per year); February Additional Loan interest totals $6,569.44 = $100,000 * 5% * (473
                                       days / 360 days per year).
                                       Case No. 16-cv-04425 NC                   11
                                         Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 12 of 14




                                   1   PepsiCo, 238 F. Supp. 2d at 1175; see also NewGen 2013 WL 12124081 at *5, Bd. of
                                   2   Trustees 389 F. Supp. 2d at 1226. The Court finds that NMS is not entitled to damages for
                                   3   its third breach of contract claim.
                                   4            Fourth, NMS’s request for damages under the common count claim resulting from
                                   5   non-payment of the Additional Loans is denied because recovery for these loans in the
                                   6   amount of $267,131.94 was already granted under NMS’s second breach of contract claim.
                                   7            In total, the Court RECOMMENDS the district court find NMS entitled to
                                   8   $428,590.27 in damages.
                                   9            E. Attorney Fees and Costs
                                  10            NMS also seeks to recover attorneys’ fees of $16,797 and costs of $1,306. Dkt. No.
                                  11   21 at 2 (Second Sullivan Decl.). “A federal court sitting in diversity applies the law of the
                                       forum state regarding an award of attorneys’ fees.” Kona Enterprises, Inc. v. Estate of
Northern District of California




                                  12
 United States District Court




                                  13   Bishop, 229 F.3d 877, 883 (9th Cir. 2000). In California, the prevailing party of a contract
                                  14   claim is entitled to reasonable attorneys’ fees and costs if the contract provides for such an
                                  15   award. Cal. Civ. Code § 1717. Here, the Note stipulates that “[t]he Maker [iNDx] agrees
                                  16   to pay Holder’s [NMS’s] costs in collecting and enforcing this Note, including attorney's
                                  17   fees.”. Dkt No. 1-3 at 2 (Note). Thus, NMS is entitled to reasonable attorneys’ fees and
                                  18   costs.
                                  19            The Court calculates fees by multiplying the reasonable hourly rate for attorneys in
                                  20   the “relevant legal community” with “comparable skill, experience, and reputation” by the
                                  21   reasonable hours spent on the litigation. Cotton v. City of Eureka, Cal. 889 F. Supp. 2d
                                  22   1154, 1161 (N.D. Cal. 2012) (internal citation omitted). “Generally, when determining a
                                  23   reasonable hourly rate, the relevant community is the forum in which the district court
                                  24   sits.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 979 (9th Cir. 2008). “[T]he burden
                                  25   is on the fee applicant to produce satisfactory evidence . . . that the requested rates are in
                                  26   line with those prevailing in the community for similar services by lawyers of reasonably
                                  27   comparable skill, experience and reputation.” Blum v. Stenson, 465 U.S. 886, 896 n.11
                                  28   (1984).
                                       Case No. 16-cv-04425 NC                   12
                                            Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 13 of 14




                                   1           NMS’s motion for default judgment included a request for, but no accounting of,
                                   2   attorneys’ fees and costs. The Court issued an order to provide attorneys’ fees
                                   3   information. Dkt. No. 20. NMS complied with the Court’s request with the declaration of
                                   4   attorney Christopher Sullivan, but submitted insufficient information for the Court to
                                   5   determine the reasonableness of his hourly rate. Dkt. No. 21 (Second Sullivan Decl.).
                                   6   NMS provided no additional information regarding his practice area of expertise, years of
                                   7   experience as an attorney, or what constitutes a reasonable rate in the community.
                                   8           The Court may rely on its own familiarity with the legal market to determine the
                                   9   reasonableness of fees. Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011). NMS
                                  10   requests fees for Sullivan, a partner who bills between $625 and $640 per hour, Roxanne
                                  11   Bahadurji, an associate who bills $320 per hour, and Renee Sevilla and Michaela
                                       O’Rourke, two paralegals who bill between $140 and $145 per hour. Dkt. No. 21 at 3-4
Northern District of California




                                  12
 United States District Court




                                  13   (Second Sullivan Decl.). Sullivan has been a partner since 2014 and was admitted to the
                                  14   California Bar in 1990. 12 Id. at 2. Based the Court’s research and experience, the Court
                                  15   finds that the rates for the associate and paralegals are reasonable. See US Foods, Inc. v.
                                  16   Lalla Holding Corp., No. 13-cv-02328 HRL, 2014 WL 4809073, at *2 (N.D. Cal. Sep. 25,
                                  17   2014), report and recommendation adopted sub nom., No. 13-cv-02328 BLF, 2014 WL
                                  18   5281058 (N.D. Cal. Oct. 15, 2014) (holding that $450 per hour is reasonable for a Bay
                                  19   Area attorney experienced in litigation matters in a default judgment case on a breach of
                                  20   contract claim). The Court was unable to find awards of damages to support the requested
                                  21   hourly rate of Sullivan, and based on the information provided finds that $500 per hour
                                  22   constitutes a reasonable rate.
                                  23           NMS documented a total of 34.9 attorney hours and 9 paralegal hours related to the
                                  24   initial claim, the request for entry of default, the motion for default judgment, and the
                                  25   supplemental brief in support of default judgment. The Court finds these hours supported
                                  26   by itemized billing statements reasonable in light of the work performed. The Court
                                  27
                                       12
                                  28      The State Bar of California, Attorney Search,
                                       http://members.calbar.ca.gov/fal/Member/Detail/148083 (last accessed May 26, 2017).
                                       Case No. 16-cv-04425 NC                  13
                                            Case 5:16-cv-04425-EJD Document 24 Filed 06/12/17 Page 14 of 14




                                   1   further finds that NMS’s stated costs of $1,306 are reasonable. Accordingly, the Court
                                   2   awards NMS $14,989.50 in attorneys’ fees 13 plus costs of $1,306 for a total of $16,295.50.
                                   3   IV. CONCLUSION
                                   4           The Court ORDERS that this case be reassigned to a district court judge because
                                   5   not all parties have consented to magistrate judge jurisdiction. 28 U.S.C. § 636(c).
                                   6           After considering the Eitel factors, the Court RECOMMENDS that the district court
                                   7   GRANT NMS’s motion for default judgment against iNDx and award:
                                   8           1.    Damages on the breach of contract claim for the Note totaling $161,458.33
                                   9                 in principal and accrued interest as of June 12, 2017.
                                  10           2.    Damages on the breach of contract claim for the Additional Loans totaling
                                  11                 $267,131.94 in principal and accrued interest as of June 12, 2017.
                                               3.    Attorneys’ fees and costs of $16,295.50.
Northern District of California




                                  12
 United States District Court




                                  13           4.    In total, the Court recommends the district court award NMS $444,885.77 in
                                  14                 damages, attorneys’ fees, and costs.
                                  15           Any party may object to this recommendation, but must do so within 14 days of
                                  16   being served. Fed. R. Civ. P. 72(b).
                                  17
                                  18           IT IS SO ORDERED.
                                  19
                                  20   Dated: June 12, 2017                      _____________________________________
                                                                                       NATHANAEL M. COUSINS
                                  21                                                   United States Magistrate Judge
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27   13
                                         14.1 partner hours at $500 per hour totaling $7,050; 20.8 associate hours at $320 per
                                  28   hour totaling $6,656; 4.3 paralegal hours at $140 per hour totaling $602; and 4.7 paralegal
                                       hours at $145 per hour totaling $681.50.
                                       Case No. 16-cv-04425 NC                  14
